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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                 )
                                           )
                     Plaintiff,            )
                                           )
 vs.                                       )         Case No. 03-CR-40061-02-MJR
                                           )
 NICOLE R. PEOPLES,                        )
                                           )
                     Defendant.            )

                               MEMORANDUM AND ORDER

 REAGAN, District Judge:

              Following entry of a guilty plea by Defendant Peoples in the above-

 captioned case, the Honorable James L. Foreman sentenced Peoples on December 6,

 2004. The sentence included a 100-month term of imprisonment. Judgment was entered

 accordingly on April 7, 2005 (Doc. 80).

              On February 13, 2008, Defendant Peoples submitted a letter to the Court

 inquiring whether she is eligible for a sentence reduction under recently amended United

 States Sentencing Guidelines (Doc. 86).

              On December 19, 2007, Chief Judge Herndon issued an Administrative Order

 addressing certain recent amendments to the Guidelines. Administrative Order 102

 explains that this Court cannot act on any petitions to reduce sentence until after the

 March 3, 2008 effective date imposed by the Sentencing Commission. Administrative

 Order 102 further provides:



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              (a) any motions to reduce sentence filed before March 3,
              2008 shall be stayed until March 3, 2008;

              (b) the Federal Public Defender’s Office of the Southern
              District of Illinois “is hereby designated to represent each
              defendant” who files a motion to reduce sentence; and

              (c) the U.S. Attorney’s Office need not file any response to a
              motion to reduce sentence until March 10, 2008. Id.

              Administrative Order 102 is INCORPORATED BY REFERENCE herein and

 expressly declared applicable to this case. Accordingly, the Court APPOINTS the Office

 of the Federal Public Defender to represent Defendant Peoples herein. This Order in no

 way indicates that a motion to reduce sentence under 18 U.S.C. § 3582(c)(2) has merit

 or would be granted.    Finally, if Defendant Peoples does file a motion to reduce

 sentence, the undersigned District Judge may set a briefing schedule with deadlines in

 addition to (and/or extending) the March 10, 2008 response date referenced in

 Administrative Order 102.

              IT IS SO ORDERED.

              DATED this 15th day of February 2008.


                                                 s/ Michael J. Reagan
                                                 MICHAEL J. REAGAN
                                                 United States District Judge




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